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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

    CHERYL WEIMAR,

             Plaintiff,
    vs.                                                   CASE NO. 5:19-cv-548-CEM-PRL

    THE FLORIDA DEPARTMENT OF
    CORRECTIONS, KEITH TURNER,
    and RYAN DIONNE,

             Defendants.
                                                           /

          DEFENDANT TURNER’S ANSWER AND AFFIRMATIVE DEFENSES TO
                  PLAINTIFF’S SECOND AMENDED COMPLAINT
          Comes Now Defendant, Keith Turner (hereinafter referred to as “Lieutenant Turner”),

    by and through his undersigned counsel, and hereby responds to Plaintiff’s Second

    Amended Complaint as follows:

                                        INTRODUCTION

          1. Denied.
                                 JURISDICTION AND VENUE
          2. Admitted the above-entitled Court has subject matter jurisdiction. Otherwise,
             denied

          3. Admitted.

          4. Without knowledge, therefore denied.

          5. Without knowledge, therefore denied.




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                                        THE PARTIES
       6. It is admitted Plaintiff Weimar was and is an inmate within the custody and control
          of Florida Department of Corrections and that she was housed at Lowell
          Correctional Institution. Otherwise, without knowledge, therefore denied.

       7. Denied that Lieutenant Turner inflicted life-threatening injuries, including a broken
          neck to Plaintiff. Otherwise, without knowledge, therefore denied.

       8. Admitted Lieutenant Turner was a correctional officer employed by Florida
          Department of Corrections who worked at Lowell Correctional Institution.
          Otherwise, denied.

       9. Without knowledge, therefore denied.

                                            FACTS
       10. Admitted Plaintiff Weimar is an inmate incarcerated in the Florida Department of
           Corrections’ prison system. Otherwise, without knowledge, therefore denied.

       11. Without knowledge, therefore denied.

       12. Without knowledge, therefore denied.

       13. Without knowledge, therefore denied.

       14. Without knowledge, therefore denied.

        Defendants Turner and Dionne Should Have Never Had the Opportunity to
                  Brutally Attack and Use Excessive Force on Plaintiff
       15. Denied.

       16. Without knowledge, therefore denied.
                            The Brutal Attack on Cheryl Weimar
       17. Denied.

       18. Admitted Plaintiff Weimar’s work assignment on August 1 one, 2019 was to clean
           toilets at the Lowell Correctional Institution work camp. Otherwise, without
           knowledge, therefore denied.

       19. Denied.



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       20. Without knowledge, therefore denied.

       21. Denied.

       22. Denied.

       23. Denied.

       24. Denied.

       25. Denied.

       26. Denied.

       27. Denied.

       28. Denied.

       29. Denied.

       30. Denied.

       31. Denied.

       32. Denied.

       33. Denied.

       34. Denied.

       35. Denied.

       36. Denied.

       37. Without knowledge, therefore denied.

       38. Denied Lieutenant Turner stated that he beat Plaintiff Weimar stupid because she
           couldn’t clean the toilet. Otherwise, without knowledge, therefore denied

       39. Denied.

       40. Without knowledge, therefore denied.

       41. Without knowledge, therefore denied.


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                                   FDC ADA Coordinator
       42. Without knowledge, therefore denied.

       43. Without knowledge, therefore denied.

                                         COUNT I
                        42 U.S.C. § 1983 – EIGHTH AMENDMENT
                          (Against Defendants Turner and Dionne)

       44. Lieutenant Turner incorporates and realleges his responses to paragraphs 1 through
           43, as if fully set forth herein.

       45. Without knowledge, therefore denied.

       46. Denied.

       47. Denied.

       48. Denied.

       49. Denied.

       50. Denied.

                               COUNT II
      TITLE II OF THE AMERICANS WITH DISABILITIES ACT (ADA) (Against
                             Defendant FDC)

       51-69. Because Count II and its various paragraphs contain no direct allegations
              against Lieutenant Turner, no response is required, and none is offered.
              Otherwise, denied.
                                    COUNT III
                  SECTION 504 OF THE REHABILITATION ACT (RA)
                              (Against Defendant FDC)

       70-79. Because Count III and its various paragraphs contain no direct allegations
              against Lieutenant Turner, no response is required, and none is offered.
              Otherwise, denied.




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                                  AFFIRMATIVE DEFENSES

           Now having fully answered Plaintiff’s Second Amended Complaint, Lieutenant

    Turner asserts the following as further, separate and alternate, affirmative defenses to the

    claims of Plaintiff as follows:

       80. As an affirmative defense, Plaintiff’s Second Amended Complaint fails to state a

    claim upon which relief can be granted, or alternatively, Plaintiff cannot establish essential

    claims of the causes of actions asserted against Lieutenant Turner in the Second Amended

    Complaint.

       81. As a further affirmative defense, qualified immunity applies to these facts as alleged

    by Plaintiff and is a complete bar to Plaintiff’s constitutional allegations against Lieutenant

    Turner. Specifically, all actions of Lieutenant Turner were undertaken pursuant to

    discretionary authority and within the course and scope of his employment, were taken in

    good faith and were not contrary to obligations created by clearly established law.

    Therefore, Lieutenant Turner is entitled to qualified immunity. Moreover, the conduct of

    Lieutenant Turner did not violate any clearly established statutory or constitutional right of

    which a reasonable person would have known, and based on established law, Lieutenant

    Turner could not have been expected to reasonably know that such actions would violate

    an alleged constitutional standard as alleged in Plaintiff’s Second Amended Complaint. In

    addition, Lieutenant Turner was acting in the capacity of his employment and because he

    did not violate any clearly established laws or rights in carrying out duties, qualified

    immunity applies.




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       82. As a further affirmative defense, Lieutenant Turner acted in good faith and in

    accordance with all statutes, rules, and regulations, both state and federal, and in

    accordance with FDOC’s own internal policies, rules and procedures.

       83. As a further affirmative defense, all actions of Lieutenant Turner were objectively

    and subjectively reasonable given the totality of circumstances and therefore comport with

    the Eighth Amendment to the United States Constitution.

       84. As a further affirmative defense, any actions towards Plaintiff were taken in good

    faith, reasonable and without malice based on facts and circumstances presented.

       85. As a further affirmative defense, at no time did Lieutenant Turner deprive Plaintiff

    of her clearly established constitutional rights. Moreover, Lieutenant Turner denies that

    Plaintiff has been deprived of any rights, privileges, or immunities secured by the

    Constitution of the United States or the State of Florida.

       86. As a further affirmative defense, the conduct of Lieutenant Turner did not go

    beyond all possible bounds of decency and cannot be regarded as shocking, atrocious, and

    utterly intolerable under the totality of the circumstances.

       87. As a further affirmative defense, the conduct of Lieutenant Turner is not the

    proximate cause of any alleged injury to Plaintiff, which were the consequences of her own

    conduct.

       88. As a further affirmative defense, Plaintiff’s claims may be barred by the Prison

    Litigation Reform Act and Plaintiff may have failed to meet the conditions precedent to

    bringing certain claims in this action.




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       89. As a further affirmative defense, all or part of the claims asserted against Lieutenant

    Turner are barred by the applicable statute of limitations.

       90. As a further affirmative defense, to the extent any claims asserted by Plaintiff are

    in essence, claims based in negligence, liability if any, is limited in accordance with the

    provisions of Florida’s limited waiver of sovereign immunity as provided in §768.28,

    Florida Statutes and in addition, §768.28(5), Florida Statutes, provides that neither the state

    nor its agencies or subdivisions are liable to pay a claim or judgment which exceeds

    $200,000 per claim.

       1. As a further affirmative defense, to the extent any claims asserted by Plaintiff are

    in essence, claims based in negligence, Lieutenant Turner is entitled to have the alleged

    damages of Plaintiff, if any, apportioned among all persons or entities responsible, such

    apportionment to be determined by the trier of fact herein. Lieutenant Turner gives notice

    that he intends to request that such responsible parties, persons or entities, including

    Plaintiff and any medical personnel (or agencies who employed them) who attended or

    should have attended Plaintiff on August 21, 2019 either in the Lowell work Camp or at

    the main medical facility, be placed on the verdict form in this cause. Lieutenant Turner

    gives notice he intends to request the following individuals be placed on the verdict form

    including, but not limited to:

       1. Nurse D. Coates, RN

       2. Dr. J. Rodriguez

       3. Shirley Roessner, LPN

       4. Curtis Dwares, ARNP



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        92. The nurse (name unknown) who refused to attend to Plaintiff Weimar when she

    was brought to the Lowell Work Camp immediately following the Use of Force

    implemented by Lieutenant Turner and CO Dionne pursuant to DOC policy and procedure.

        93. Discovery is continuing and there may be other persons or entities whose identity

    is presently unknown, or whose identity is known but their potential responsibility is not

    yet ascertained, who may be responsible.

        94. As a further affirmative defense, Plaintiff’s claims are barred by the doctrines of

    estoppel, judicial estoppel, waiver and unclean hands. Moreover, Plaintiff’s own acts or

    omissions bar the claims asserted.

        95. As a further affirmative defense, while Lieutenant Turner denies any and all

    liability, alternatively, he asserts that Plaintiff’s injuries were caused solely or partially by

    the negligence, indifference, or intentional acts of persons or entities other than himself.

        96. As a further affirmative defense, the conduct of Lieutenant Turner was not the

    proximate cause of any injury to Plaintiff. The circumstances and events leading to

    Plaintiff’s injuries were not foreseeable and were consequences of the conduct of Plaintiff

    or others. The conduct of Plaintiff and others constituted an independent, superseding and

    intervening cause of Plaintiff’s alleged damages.

        97. As a further affirmative defense, to the extent that Plaintiff’s claimed damages were

    caused by an unforeseeable, superseding and/or intervening act over which Lieutenant

    Turner had no control, he is not liable for such damages.




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        98. As a further affirmative defense, as to any non-constitutional claim, pursuant to

    §768.28(9)(a), Florida Statutes, Lieutenant Turner is immune from suit since the alleged

    acts causing the alleged harm are not outside the course and scope of his employment, and

    were not committed in bad faith, with malicious purpose or in a manner exhibiting wanton

    and willful disregard of human rights, safety, or property.

        99. As a further affirmative defense, the Plaintiff’s claims against Lieutenant Turner do

    not rise to the level of deliberate indifference to the needs of Plaintiff or to the level of cruel

    and unusual punishment to constitute a violation of the Eighth Amendment.

        100.        As a further affirmative defense, Lieutenant Turner is entitled to the

    limitations of liability contained within Florida and Federal law including but not limited

    to 42 U.S.C. 1981. Any verdict or judgment against Lieutenant Turner should be limited

    accordingly.

        101.        As a further affirmative defense, Lieutenant Turner is entitled to a set-off

    for any benefits paid by collateral sources.

        102.         As a further affirmative defense, Plaintiff’s Second Amended Complaint

    and its various allegations are barred by the immunity afforded Lieutenant Turner pursuant

    to the Eleventh Amendment of the United States Constitution.

        103.         As a further affirmative defense, the claims against Lieutenant Turner

    should be barred because he did not act in bad faith, with malicious purpose, or in a manner

    exhibiting wanton and willful disregard of human rights or safety.




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        104.         As a further affirmative defense, the claims against Lieutenant Turner

     should be barred based upon the principle of any or all of the Defendants’ qualified

     immunity as their actions were part of their discretionary authority, did not violate clearly

     established statutory or constitutional rights that a reasonable person would have known,

     nor were said actions deliberately indifferent to the needs of Plaintiff.

        105.         As a further affirmative defense, Lieutenant Turner’s conduct did not

     subject Plaintiff to a deprivation of rights, privileges or immunities secured by the United

     States Constitution or laws.

                                    DEMAND FOR JURY TRIAL

            Defendant, Keith Turner demands a jury trial for all counts alleged above.
            DATED this 20th day of April, 2020


                                                             SIBONI & BUCHANAN, PLLC


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                                   CERTIFICATE OF SERVICE

             I hereby certify that on this 20th day of April 2020 a true and correct copy of the

     foregoing was electronically filed with the Clerk of the Court for the U.S. District Court

     for the Middle District of Florida by using the CM/ECF system, which will send a notice

     of electronic filing to all counsel of record.

                                                                 /s/ Robert B. Buchanan
                                                                 Robert B. Buchanan, Esquire
                                                                 Florida Bar No. 063400




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